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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


                                               )
 UNITED STATES OF AMERICA                      )
                                               )
                    v.                         )        Criminal No. 17-201 (ABJ)
                                               )
 PAUL J. MANAFORT, JR.,                        )
                                               )
                         Defendant.            )
                                               )


                DEFENDANT PAUL J. MANAFORT JR.’S RESPONSE TO
               THE GOVERNMENT’S PROPOSED JURY INSTRUCTIONS

       Defendant Paul J. Manafort, Jr., by and through counsel, files this response to the

Government’s Proposed Jury Instructions as required by the Court’s August 28, 2018 Order. In

response, the defendant notes he has no objection to the following instructions proposed by the

government: 3 through 14, 18 through 20, 22 through 31, and 33 through 56. Defendant’s

objections to the remaining proposed instructions along with suggested changes or alternatives to

those instructions are attached. Finally, defendant objects to the government’s proposed Special

Instructions (1 through 6).


Dated: September 6, 2018                            Respectfully submitted,

                                                     /s/
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                  PROPOSED JURY INSTRUCTION NO. 1


The defendant objects to the following language on page 2 of the proposed instruction:



       • Acting between approximately 2008 and 2014 as an agent of a foreign principal

       without registering, in violation of the Foreign Agents Registration Act (FARA)

       (Count Three);



Defendant proposes the following replacement:



       • Between approximately 2008 and 2014, failing to register as an agent of a

       foreign principal, in violation of the Foreign Agents Registration Act (FARA)

       (Count Three).




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                          PROPOSED JURY INSTRUCTION NO. 2


       The defendant objects to this instruction. Defendant anticipates any alternate juror will

be aware that they are an alternate and does not believe it is appropriate to give this instruction.




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                         PROPOSED JURY INSTRUCTION NO. 15


       The defendant objects to the following language in paragraph (3) of the proposed

instruction:

               The charged overt acts are: (a) the use of a series of overseas and domestic

               corporate entities, (b) wiring money from offshore accounts controlled or

               beneficially owned by Mr. Manafort into the United States to pay for goods,

               services and real estate without paying taxes on that income, (c) a multi-part

               international lobbying scheme on behalf of foreign principals that involved the

               retention of lobbying firms, law firms, and public relations firms to perform work

               in the United States, (d) the retention of a group of former European politicians

               who lobbied in the United States, (e) the concealment of these activities, and (f)

               the concealment of overseas accounts used in the charged schemes. Although you

               must unanimously agree that the same overt act was committed, the government

               is not required to prove more than one of the overt acts charged.



       Defendant proposes the following replacement:

               The charged overt acts are alleged in the indictment. Although you must

               unanimously agree that the same overt act was committed, the government is not

               required to prove more than one of the overt acts charged.




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                          PROPOSED JURY INSTRUCTION NO. 16


       The defendant objects to the following language in paragraph one of the proposed

instruction:

               (1) the offense of acting, and causing and aiding and abetting others to act, as

               unregistered agents of a foreign principal, in violation of the Foreign Agents

               Registration Act (FARA);



       Defendant proposes the following replacement:

               (1) the offense of failing, and causing and aiding and abetting others to fail, to

               register as an agent of a foreign principal, in violation of the Foreign Agents

               Registration Act (FARA);



       The defendant also objects to the following language in paragraph two of the proposed

instruction:

               It is against the law to agree with someone to commit the crimes of acting as a

               foreign agent . . .



       Defendant proposes the following replacement:

               It is against the law to agree with someone to commit the crimes of failing to

               register as a foreign agent . . .




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                         PROPOSED JURY INSTRUCTION NO. 17

       The defendant objects to the following language in paragraph (3) of the proposed

instruction:

               For the second conspiracy charged in Count One, the charged overt acts include

               (a) the use of a series of overseas and domestic corporate entities, (b) wiring

               money from offshore accounts controlled beneficially owned or by Manafort into

               the United States to pay for goods, services and real estate without paying taxes

               on that income, (c) a multi-part international lobbying scheme on behalf of

               foreign principals that involved the retention of lobbying firms, law firms, and

               public relations firms to perform work in the United States, (d) the retention of a

               group of former European politicians who lobbied in the United States, (e) the

               concealment of these activities, and (f) the concealment of overseas accounts used

               in the charged schemes. The government need not prove that all of these overt

               acts were taken, but in order to find the defendant guilty, you must all agree on at

               least one overt act that was done.

       Defendant proposes the following replacement:

               For the second conspiracy charged in Count One, the charged overt acts are

               alleged in the indictment. The government need not prove that all of these overt

               acts were taken, but in order to find the defendant guilty, you must unanimously

               agree on at least one charged overt act that was done.




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       Defendant also objects to the following language under the section entitled Elements of

the Conspiracy’s Objects:

              In Count One, the government has alleged that one object of the conspiracy was

              to act as an unregistered agent of a foreign principal. For Count One, the

              government does not have to prove that the defendant committed this crime; only

              that this was an object of the conspiracy. In considering whether this was an

              object of the conspiracy, the following legal principles and definitions apply. A

              person willfully violates the FARA requirements if:

              (1) The defendant acted in the United States as an agent of a foreign principal;

              (2) The defendant acted without registering with the Attorney General; and

              (3) The defendant acted willfully.

       Defendant proposes the following replacement:

              In Count One, the government has alleged that one object of the conspiracy was

              to fail to register as an agent of a foreign principal in violation of FARA. For

              Count One, the government does not have to prove that the defendant committed

              this crime; only that this was an object of the conspiracy. In considering whether

              this was an object of the conspiracy, the following legal principles and definitions

              apply. A person willfully violates the FARA requirements if:

              (1) The defendant was required by law to register as an agent of a foreign

              principal;

              (2) The defendant failed to register with the Attorney General; and

              (3) In failing to register, the defendant acted willfully.

Authority: 22 U.S.C. §§612 & 618(a)(2)



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                           PROPOSED JURY INSTRUCTION NO. 21


       The defendant objects to the following language in paragraph (3) of the proposed

instruction:

               The elements of the crime of acting as an unregistered agent of a foreign

               principal, each of which the government must prove beyond a reasonable doubt,

               are that:

                       (1) First, the defendant acted in the United States as an agent of a foreign

                       principal.

                       (2) Second, the defendant acted without registering with the Attorney

                       General.

                       (3) Third, the defendant acted willfully.

                       The term “foreign principal” includes the government of a foreign

               country, a foreign political party, and entities—such as corporations, partnerships,

               or organizations—that are organized under the laws of or have their principal

               place of business in a foreign country.

                       A defendant “acts as an agent of a foreign principal” in the United States

               if, either “directly or through any other person,” he (i) engages in political

               activities for or in the interests of such foreign principal, which includes attempts

               to influence federal officials or the public on foreign or domestic policy; (ii) acts

               as public relations counsel, publicity agent, information-service employee or

               political consultant for or in the interests of such foreign principal; (iii) solicits,

               collects, disburses, or dispenses contributions, loans, money, or other things of




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       value for or in the interest of such foreign principal; or (iv) represents the interests

       of such foreign principal before any federal agency or official.



Defendant proposes the following replacement:

       In order to sustain its burden of proof for the crime of willful failure to register as

       an agent of a foreign principal, the government must prove the following three

       essential elements beyond a reasonable doubt:

               (1) First, the defendant was required by law to register as an agent of a

               foreign principal.

               (2) Second, the defendant failed to register with the Attorney General.

               (3) Third, in failing to register, the defendant acted willfully.

               The term “foreign principal” includes the government of a foreign

       country, a foreign political party, and entities—such as corporations, partnerships,

       or organizations—that are organized under the laws of or have their principal

       place of business in a foreign country.

               A defendant “acts as an agent of a foreign principal” if, either “directly or

       through any other person,” he

               (i)     engages within the United States in political activities for or in the

               interests of such foreign principal, which includes attempts to influence

               federal officials or the public on foreign or domestic policy;

               (ii)    acts within the United States as public relations counsel, publicity

               agent, information-service employee or political consultant for or in the

               interests of such foreign principal;



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              (iii)   within the United States solicits, collects, disburses, or dispenses

              contributions, loans, money, or other things of value for or in the interest

              of such foreign principal; or

              (iv)    within the United States represents the interests of such foreign

              principal before any federal agency or official.

              An agent of a foreign principal is exempt from the requirement to register

       as an agent of a foreign principal if

              (i)     the foreign principal is a partnership, association, corporation,

              organization, or other combination of persons organized under the laws of

              or having its principal place of business in a foreign country;

              (ii)    the agent has engaged in lobbying activities; and

              (iii)   the agent has registered under the Lobbying Disclosure Act of

              1995 [2 U.S.C. 1601 et seq.] in connection with the agent’s representation

              of such person or entity.



Authority: 22 U.S.C. §§611, 612 & 618(a)(2)




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                           PROPOSED JURY INSTRUCTION NO. 32


        The defendant objects to this instruction. Defendant does not believe this instruction

applicable to the facts of this case.




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